Case 14-10979-CSS Doc 11870-9 Filed 09/06/17 Page i1of6

Exhibit 4

EFH Confirmation Hearing Notice

Case 14-10979-CSS Doc 11870-9 Filed 09/06/17 Page 2 of 6

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

Debtors.

)
)
)
ENERGY FUTURE HOLDINGS CORP., et al.,! ) Case No. 14-10979 (CSS)
)
) Jointly Administered
)

NOTICE OF HEARING TO CONSIDER
CONFIRMATION OF THE CHAPTER 11 PLAN
AND RELATED VOTING AND OBJECTION DEADLINES

PLEASE TAKE NOTICE THAT, on [ ], 2017, the United States
Bankruptcy Court for the District of Delaware (the “Court”) entered an order [D.I. |
(the “EFH Disclosure Statement Order”): (a) authorizing Energy Future Holdings Corp. (““EFH
Corp.”), certain of its direct and indirect subsidiaries (together with EFH Corp., the “EFH
Debtors”), Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance, Inc.
(together with EFJH, the “EFIH Debtors,” and together with the EFH Debtors, the “EFH/EFIH
Debtors”) to solicit acceptances to the First Amended Joint Plan of Reorganization of Energy
Future Holdings Corp., Energy Future Intermediate Holding Company LLC, and the EFH/EFIH
Debtors Pursuant to Chapter 11 of the Bankruptcy Code [D.I.____] (as may be modified,
amended, or supplemented from time to time, the “Plan”);? (b) approving the Disclosure Statement
for the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy
Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11
of the Bankruptcy Code, including all exhibits and schedules thereto [DJ. _] (as may be
modified, amended, or supplemented from time to time, the “EFH Disclosure Statement’) as
containing “adequate information” pursuant to section 1125 of the Bankruptcy Code;
(c) approving the solicitation materials and documents to be included in the solicitation packages;
(d) approving procedures for soliciting, receiving and tabulating votes on the Plan; and (e)
establishing notice and objection procedures for confirmation of the Plan.

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location
of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of
debtors in these chapter 11 cases, which are being jointly administered, a complete list of the debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete
list of such information may be obtained on the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.

? The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH
Australia (No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings
Company, EFH Renewables Company LLC, Generation Development Company LLC, LSGT Gas
Company LLC, LSGT SACROC, Inc., NCA Development Company LLC, and TXU Receivables
Company.

Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Plan.

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Case 14-10979-CSS Doc 11870-9 Filed 09/06/17 Page 3 of 6

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “EFH Confirmation Hearing”) will commence at a time
and date to be determined, before The Honorable Christopher S. Sontchi, in the United States
Bankruptcy Court for the District of Delaware, located at 824 North Market Street, Fifth Floor,
Courtroom 6, Wilmington, Delaware 19801. Upon such time that the EFH Confirmation Hearing
is scheduled, a supplemental notice of hearing shall be provided, in accordance with the EFH
Disclosure Statement Order.

PLEASE BE ADVISED: THE EFH CONFIRMATION HEARING MAY BE CONTINUED
FROM TIME TO TIME BY THE COURT OR THE EFH/EFIH DEBTORS WITHOUT
FURTHER NOTICE OTHER THAN BY SUCH ADJOURNMENT BEING ANNOUNCED IN
OPEN COURT OR BY A NOTICE OF ADJOURNMENT FILED WITH THE COURT AND
SERVED ON ALL PARTIES ENTITLED TO NOTICE.

CRITICAL INFORMATION REGARDING VOTING ON THE PLAN

Voting Record Date. The voting record date is September 6, 2017 (the “Voting Record
Date”), which was the date for determining which holders of Claims or Interests, as applicable,
against the EFH/EFIH Debtors in Classes A4, A5, A6, A7, A8, A9, A10, All, B5, and B6 are
entitled to vote on the Plan.

Voting Deadline. The deadline for voting on the Plan is 4:00 p.m. (prevailing Eastern
Time) on October 30, 2017 (the “Voting Deadline”). If you received a Solicitation Package,
including a Ballot and intend to vote on the Plan you must: (a) follow the instructions carefully;
(b) complete all of the required information on the ballot; and (c) execute and return your
completed Ballot according to and as set forth in detail in the voting instructions so that it is
actually received by the EFH/EFIH Debtors’ solicitation agent, Epiq Bankruptcy Solutions, LLC
(the “Solicitation Agent’) on or before the Voting Deadline. Failing to follow such instructions
may disqualify your vote.

‘CRITICAL INFORMATION REGARDING OBJECTING TO THE PLAN

ARTICLE VII OF THE PLAN CONTAINS RELEASE, EXCULPATION,
AND INJUNCTION PROVISIONS, AND ARTICLE VHIII.D. CONTAINS A THIRD-
PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

Plan Objection Deadline. The deadline for filing preliminary objections to the Plan is
October 30, 2017 (the “Preliminary Plan Objection Deadline”); the deadline to file final
objections to the Plan will be determined at a later date, but in no event shall such objection
deadline occur later than December 19, 2017 (the “Final Plan Objection Deadline”). Only those
parties who file an objection to the Plan on or before the Preliminary Plan Objection Deadline shall
be permitted to file a final objection to the Plan, unless otherwise ordered by the Bankruptcy Court.
All objections to the relief sought at the EFH Confirmation Hearing must: (a) be in writing;
(b) conform to the Bankruptcy Rules, the Local Rules, and any orders of the Court; (c) state, with
particularity, the legal and factual basis for the objection and, if practicable, a proposed

Case 14-10979-CSS Doc 11870-9 Filed 09/06/17 Page 4of 6

modification to the Plan (or related materials) that would resolve such objection; and (d) be filed
with the Court (contemporaneously with a proof of service) and served upon the following parties
so as to be actually received on or before the Preliminary Plan Objection Deadline and the Final
Plan Objection Deadline, as applicable:

KIRKLAND & ELLIS LLP RICHARDS, LAYTON & FINGER, P.A.
Attn: Edward O. Sassower, P.C. Attn: Mark D. Collins, Esq.
Attn: Stephen E. Hessler, P.C. Attn: Daniel J. DeFranceschi, Esq.
Attn: Brian E. Schartz, Esq. Attn: Jason M. Madron, Esq.
Attn: Aparna Yenamandra, Esq. 920 North King Street
601 Lexington Avenue Wilmington, DE 19801

New York, NY 10022

Attn: James H.M. Sprayregen, P.C.
Attn: Marc Kieselstein, P.C.
Attn: Chad J. Husnick, P.C.

Attn: Steven N. Serajeddini, Esq.
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Co-Counsel to Energy Future Holdings Corp.

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JENNER & BLOCK LLP

Attn: Richard Levin, Esq.

919 Third Ave

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Co-Counsel to Energy Future Intermediate Holding Company LLC

THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF DELAWARE
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Attn: Andrea B. Schwartz, Esq.
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Wilmington, DE 19801

SULLIVAN & CROMWELL LLP MONTGOMERY, MCCRACKEN, WALKER, &
Attn: Andrew G. Dietderich, Esq. RHOADS LLP
Attn: Brian D. Glueckstein, Esq. Attn: Natalie D. Ramsey, Esq.
Attn: Michael H. Torkin, Esq. Attn: Davis Lee Wright, Esq.
125 Broad Street Attn: Mark A. Fink, Esq.
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Wilmington, DE 19801

Co-Counsel to the EFH Creditors’ Committee

Case 14-10979-CSS Doc 11870-9 Filed 09/06/17 Page 5of6

ADDITIONAL INFORMATION

Obtaining Solicitation Materials. The materials in the Solicitation Package are intended
to be self-explanatory. If you should have any questions or if you would like to obtain additional
solicitation materials (or paper copies of solicitation materials if you received a CD-ROM), please
feel free to contact the Debtors’ Solicitation Agent, by: (a) calling the Debtors’ restructuring
hotline at (877) 276-7311; (b) visiting the Debtors’ restructuring website at:
http://www.efhcaseinfo.com; and/or (c) email to efhvote@epiqsystems.com and reference
“EFH/EFIH” in the subject line. You may also obtain copies of any pleadings filed in these
Chapter 11 Cases for a fee via PACER at: http://www.deb.uscourts.gov. Please be advised that
the Solicitation Agent is authorized to answer questions about, and provide additional copies of,
solicitation materials, but may not advise you as to whether you should vote to accept or reject the
Plan.

Filing the Plan Supplement. The Debtors will file the Plan Supplement (as defined in the
Plan) no later than October 20, 2017, or such later date as may be approved by the Bankruptcy
Court and will serve notice on all holders of Claims and Interests entitled to vote on the Plan,
which will: (a) inform parties that the Debtors filed the Plan Supplement; (b) list the information
contained in the Plan Supplement; and (c) explain how parties may obtain copies of the Plan
Supplement.

BINDING NATURE OF THE PLAN:

IF CONFIRMED, THE PLAN SHALL BIND ALL HOLDERS OF CLAIMS AND
INTERESTS AGAINST THE EFH/EFIH DEBTORS TO THE MAXIMUM EXTENT
PERMITTED BY APPLICABLE LAW, WHETHER OR NOT SUCH HOLDER WILL
RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER THE
PLAN, HAS FILED A PROOF OF CLAIM IN THE CHAPTER 11 CASES OR FAILED
TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO REJECT THE PLAN.

Case 14-10979-CSS Doc 11870-9 Filed 09/06/17 Page 6 of 6

Dated: [ ], 2017
Wilmington, Delaware

/s/ DRAFT

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Co-Counsel to the Debtors and Debtors in Possession
